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                           SETTLEMENT NOTICE PLAN


1. Dissemination of the Class Settlement Notice shall be the responsibility of the Special

   Master appointed by this Honorable Court.

2. The Notice of the settlement shall be disseminated in written form as follows:

           a. By first class U.S. mail delivery of Exhibit “E” to the Settlement Agreement

               (Class Notice Package) to the last known address of potential Class Members

               (or to their attorneys, if known by the PSC). If Long Form Notices addressed

               specifically to Class Members are returned, the Special Master shall process

               the names of Class Members whose Class Notice Packages were returned

               through an appropriate federal, state or local public record locator service, to

               provide updated addresses for Class Members. If an updated address is

               located, the Special Master shall re-mail the Class Notice Package to the Class

               Members with the new address;

           b. By first class mail delivery and electronic mail to all attorneys appearing as

               counsel of record in this matter who have in the past represented, or who

               presently represent, any potential Class Member;

           c. By publishing of Exhibit “I” of the Settlement Agreement (Short Form

               Notice) in major newspapers serving the areas affected by Hurricanes Katrina

               and Rita. The Short Form Notice shall be used for the principal purpose of

               encouraging Class members to seek additional information. The Short Form

               Notice is designed to be simple but sufficiently comprehensive to inform

               Class members, prior to the Fairness Hearing, that there is a pending

               settlement, and further (i) inform Class members as to how they may obtain a
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              copy of the Class Notice Package; (ii) protect their rights regarding the

              settlement; (iii) request exclusion from the Class and the proposed settlement,

              if desired;    (iv) object to any aspect of the proposed settlement; and (v)

              participate, if desired, in the Fairness Hearing. Finally, the Notice shall make

              clear the binding effect of the Settlement on all persons who do not timely

              request exclusion from the Class. The Short Form Notice publications will

              appear in newspapers which include the following:

                  i.        Galveston County Daily News, Galveston, TX;

                  ii.       Houston Chronicle, Houston, TX;

                  iii.      The Advocate, Baton Rouge, LA;

                  iv.       Times-Picayune, New Orleans, LA;

                  v.        Daily Advertiser, Lafayette, LA;

                  vi.       American Press, Lake Chares, LA;

                  vii.      The Sun Herald, Gulfport, MS; and

                  viii.     Press-Register, Mobile, AL



3. The parties propose that mailings of the Class Notice Package begin on or about July 3,

   2012. Publication of the Short Form Notice shall begin on or about July 3, 2012 and

   shall be completed fourteen (14) days after initial publication. Publication of the Short

   Form Notice will occur twice (once in a daily edition and once in a Sunday edition) in the

   above-listed newspapers. The Special Master shall place the orders for publication of the

   Short Form Notice and personally review proofs thereof prior to publication to assure that

   the advertisements are suitable to serve the purposes herein stated.
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4. The Special Master also shall submit to different media outlets in the affected areas for

   publication the attached Public Service Announcement (“PSA”, Exhibit “J”). The

   Special Master then shall monitor the publication of the PSA and shall forward the

   transcripts of any radio publications of the PSA to each Party.



   This notification plan is designed to (i) provide the best practicable notice under the

circumstances of this action and the terms of the Stipulation of Settlement; (ii) provide Class

Members with adequate instructions and a variety of means to obtain information pertaining

to their rights and obligations effectively; (iii) reach both those class Members for whom

accurate addresses are known and those Class Members whose addresses have changed or

are not currently known; and (iv) satisfy federal due process and other relevant standards.
